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 7                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     Facilitate Corporation Pte Ltd,                     Case No.: 4:23-CV-3242-YGR
10
                     Plaintiff,                          PLAINTIFF’S MEMORANDUM OF LAW
11                                                       IN OPPOSITION TO X CORP.’S
            v.
12                                                       ADMINISTRATIVE MOTION TO FILE
     Twitter, Inc. and X Corp., Inc.,                    UNDER SEAL
13

14                  Defendants.
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                                        OPPOSITION TO MOTION TO SEAL
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 1                                       I.         INTRODUCTION
 2          When X Corp. filed its Local Rule 3-15 disclosures under seal in a different lawsuit in

 3 June 2023, it had never been done before in the Northern District of California. Many individuals

 4 and entities with financial interests in lawsuits before this court would prefer to remain

 5 anonymous—but Local Rule 3-15 does not provide for that. Because X’s motion to seal (the

 6 “Motion”) fails to overcome the strong preference for public access to judicial records by

 7 providing compelling reasons to seal, X’s motion should be denied.

 8                                            II.    ARGUMENT
 9          There reasons the motion should be denied are simple. First, the stringent “compelling

10 reasons” standard governs X’s request, and no court has never approved sealing a Local Rule 3-

11 15 certification until this June. And second, X hasn’t met that standard in its motion because its

12 broad allegations of harm, unsubstantiated by specific examples or articulated reasoning, cannot

13 justify sealing its Local Rule 3-15 certification.

14          A. The “Compelling Reasons” Standard Applies to X’s Motion to Seal and Has
            Almost Never Been Found to Permit Filing a Local Rule 3-15 Certification Under
15          Seal.
16          Contrary to X’s statement that “no legitimate purpose is served by any public-facing

17 filing” of the material, there is a “strong preference for public access” to inspect judicial records

18 that is the baseline presumption X must overcome. Ctr. for Auto Safety v. Chrysler Grp., LLC,

19 809 F.3d 1092, 1097 (9th Cir. 2016). That presumption may be rebutted only through a showing

20 of “compelling reasons,” or “good cause.” Id., 809 F.3d at 1096-97.

21          Permitting public access to judicial records serves the public interest: “[S]ecrecy insulates

22 the participants, masking impropriety, obscuring incompetence, and concealing corruption.”

23 Brown & Williamson Tobacco Corp. v. FTC, 710 F.2d 1165, 1179 (6th Cir. 1983). Publicity, on

24 the other hand, “enhances the quality and safeguards the integrity of the factfinding process.”

25 Globe Newspaper Co. v. Superior Court for Norfolk Cnty., 457 U.S. 596, 606 (1982) (discussing

26 access in criminal context).

27          And the only court records the Ninth Circuit permits to be sealed without compelling
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 1 reasons are (1) records that “have traditionally been kept secret for important policy reasons,”

 2 such as “grand jury transcripts and warrant materials in the midst of a pre-indictment

 3 investigation”; and (2) “sealed discovery documents attached to a non-dispositive motion.”

 4 Kamakana v. City and Cty. Of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (alterations and

 5 internal quotation marks omitted).

 6            X argues that the “good cause” standard applies because the Motion is “non-dispositive.”

 7 Mot. at 2-3. But the exception to the baseline requirement to “compelling reasons” is for

 8 confidential materials produced in discovery, with the “good cause” standard imported from

 9 Federal Rule of Civil Procedure Rule 26(c) which governs protective orders in discovery. Id. 809

10 F.3d at 1097. Because the Motion seeks to seal its conflicts disclosures, and not materials

11 produced in discovery, the “good cause” standard does not apply.

12            Further, the Ninth Circuit’s Center for Auto Safety decision clarified that public access

13 does not merely depend on the filing being a technically “dispositive,” and instead turns on

14 whether it “is more than tangentially related to the merits of a case.” Ctr. For Auto Safety, 809

15 F.3d at 1101.

16            Given the “public interest in disclosure of companies with whom a federal judge may

17 have a conflict of interest,” Steel Erectors, Inc. v. AIM Steel Int’l, Inc., 312 F.R.D. 673, 675 (S.D.

18 Ga. 2016) (denying motion to seal disclosure statement), and the public’s first amendment right

19 to that information, Courthouse News Serv. v. Planet, 750 F.3d 776, 785 (9th Cir. 2014) (“access

20 to public proceedings and records is an indispensable predicate to free expression about the

21 workings of government”), the “compelling reasons” standard should apply. 1 X does not attempt

22 to meet this standard, and the Motion therefore should be denied.

23            Also, the Center for Auto Safety decision—and earlier Ninth Circuit decisions that

24

25   1
      In Kemper Holdings LLC v. Am. Int'l Grp., 2020 U.S. Dist. LEXIS 242073 (W.D. Wash., Dec. 23, 2020), the court
     denied a stipulated motion to seal corporate disclosure because general allegation that members “will be subjected to
26   unnecessary attention and annoyance” were not a specific concern. The court there applied, without analysis, the
     “good cause” standard, but found that the “the strong presumption of access” was not overcome in light of “the
27   public’s right to evaluate whether conflicts exist,” suggesting a heightened level of review.
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 1 addressed the standard for sealing filings—focus on motions and their attachments because those

 2 are by far the most common filings parties seek to file under seal. Indeed, instances of parties

 3 seeking to file conflicts disclosures are exceedingly rare. There does not appear to be a single

 4 Northern District of California precedent for filing a Local Rule 3-15 disclosure under deal

 5 before X started doing so a few months ago. Most undisclosed owners of entities in litigation in

 6 the Northern District of California would prefer not to disclose the information to the public, but

 7 they must and they do.

 8          Tellingly, X’s motion cites only three examples of sealed conflicts disclosures: X’s own

 9 recent motions to file its conflicts disclosures under seal and one nine-year-old District of

10 Nevada decision, Best Odds Corp. v. iBus Media Ltd., 2014 WL 5687730 (D. Nev. Nov. 4,

11 2014). But Best Odds is not controlling, and it is inapplicable. In that case, the defendant argued

12 that the plaintiff brought a baseless lawsuit and was improperly using the disclosure obligations

13 as a discovery tool to seek leverage over the defendant’s undisclosed corporate parent. See

14 Declaration of Ethan Jacobs (“Jacobs Decl.”) Ex. A. The court therefore allowed the plaintiff to

15 file its disclosures in camera. None of those factors are at play here.

16          B. X Has Not Shown Compelling Reasons or Good Cause to Seal its Local Rule 3-
            15 Certification.
17
            Even if the more lenient “good cause standard” applied, X still fails to meet it. A showing
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     of “specific prejudice or harm” is required, and “[b]road allegations of harm, unsubstantiated by
19
     specific examples or articulated reasoning” are insufficient. Beckman Indus., Inc. v. Int'l Ins. Co.,
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     966 F.2d 470, 476 (9th Cir. 1992). None of the reasons X provides meet even this lower
21
     standard.
22
            First, X advances the blanket claims that “[i]ndividuals and entities investing and taking
23
     an ownership interest in a private corporation such as X Holdings expect that such information
24
     will remain private.” Employee Decl., ¶ 3. But if so, they do not realistically expect that
25
     information is guaranteed to remain private. Sophisticated investors know that there are
26
     situations in which corporations must disclose their ownership.
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 1          This is one such situation: countless businesses are sued in the Northern District of

 2 California—and in other districts with similar conflicts disclosure requirements—yet before X

 3 Corp., there does not appear to be a single Local Rule 3-15 disclosure filed under seal to protect

 4 a privacy expectation. An investor in a business cannot realistically believe his or her identity

 5 would remain confidential when the business became involved in litigation in this court. And no

 6 one can realistically believe that a multi-billion dollar company based in San Francisco, such as

 7 X, would never be sued in this court. See, e.g., Wiens Cap. Mgmt., LLC v. Advoc. Consulting

 8 Legal Grp., PLLC, 2023 WL 2435806, at *2 (M.D. Fla. Feb. 16, 2023) (denying motion to seal

 9 Rule 7.1 disclosure in face of claimed privacy expectation because party that chose federal forum

10 “had to have known” the rule required disclosure).

11          Second, X claims that its parent, X Holdings, “is contractually bound” to keep the

12 information confidential “in certain cases,” Employee Decl., ¶ 4, but X does not identify which

13 cases, which contracts, or explain why this mandates sealing the identity of every one of the over

14 ninety owners of X Holdings. See Jacobs Decl. Ex. B (indicating over ninety redacted interested

15 parties). Indeed, the mere fact that some investors have publicly announced their investments,

16 see Jacobs Decl. Ex. C, and that others have been reported on, see Shabban & Siddiqi, Here’s

17 Who Helped Elon Musk Buy Twitter, Washington Post (Dec. 24, 2022), all without apparent

18 negative consequence, renders X’s blanket attempt to redact every name frivolous.

19          Third, X makes vague but sweeping assertion that disclosure “potentially could” cause

20 unspecified harm to X Holdings’ “competitive position” by allowing “current or prospective

21 business partners or counterparties to take unfair advantage” of X Holdings. Id. at ¶ 4. But X

22 Holdings’ only disclosed business is owning Twitter, now renamed X; it does not have

23 “competitors” who could obtain an advantage over it—or, at least, X’s motion fails to explain

24 how it has any, or how they could harm it by knowing who owns it. X’s failure to spell out the

25 potential harm is not mere neglect: Facilitate’s counsel identified this exact point to X’s counsel,

26 along with criticisms of X’s position, in pre-motion meet-and-confer correspondence. Jacobs

27 Decl. Ex. D.
                                                      4
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 1          In short, X has provided no “specific demonstrations of fact,” but only “broad,

 2 conclusory allegations of potential harm.” Stewart v. Quest Diagnostics Clinical Lab’ys, Inc.,

 3 2020 WL 8513113, at *1 (S.D. Cal. Dec. 16, 2020).

 4          Courts have repeatedly rejected attempts to seal disclosure statements, even when the

 5 motion is unopposed, in the absence of specific, nonconclusory showings of harm. See, e.g.,

 6 Wilkins v. Tory Burch, LLC, 2023 WL 3600084, at *2 (E.D. Mo. May 23, 2023) (rejecting

 7 unopposed motion and collecting cases). X has presented nothing but conclusory allegations of

 8 harm, and certainly nothing that would meet its burden to justify sealing judicial records. X has

 9 not shown good cause, and its motion therefore should be denied.

10                                        III.   CONCLUSION

11          In short, X’s motion to seal should be denied because it fails to show either “compelling

12 reasons” or “good cause” to overcome the presumption of public access and justify sealing its

13 conflicts disclosures.

14

15       Dated:      September 21, 2023
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